Case 2:05-cv-02333-SHI\/|-dkv Document 21 Filed 08/29/05 Page 1 of 5 Page|D 28

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IN THE UNITED STATES DIsTRICT coURT
FOR THE WESTERN DISTRICT OF TENNESSEE lyan M

WESTERN DIVISION CLEPJ§ U.S P@:T'§%T
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TI-IOMAS & BETTS ]NTERNATIONAL, INC.
and THOMAS & BETTS CORPORATION

Plaintiff,
Civil Action No. 05-2333 - Ma V
v.
J'OHN MEZZALlNGUA ASSOCIATES, INC. JURY TRIAL DEMANDED
d/b/a PPC, INC.
Defendant.

 

JOINT"PRO?€S=EB SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference was held August 18, 2005. Present
were Kelly A. Clement and Jason F. Hoffman, counsel for plaintiffs, and Jef Feibelman and
J ames R. Muldoon, counsel for defendant At the conference, the following dates Were

established as the fmal dates for:

INITIAL DIsCLosUREs PURSUANT To F R C. P 26(3)(1) september 1
2005

JO]NING PARTIES: October 21, 2005
AMENDING PLEADINGS: October 21, 2005
]NITIAL MOTIONS TO DISMISS: November 18, 2005

PART[ES’ EXCHANGE OF PREL[MINARY LIST OF PROPOSED CLAIM
CONSTRUCTIONS: Janua.t'y 25, 2006.

PARTIES’ OPENING CLA[M CONSTRUCTION BRI_EFING: February 3, 2006.
PARTIES’ RESPONSIVE CLAIM CONSTRUCTION BRIEFING: February 24, 2006.

This decl.ment entered on the docket sheet in comp|i nce
with a.ua 55 and/or sam FHch on m

Case 2:05-cv-O2333-SHI\/|-dkv Document_2j_ Filed 08/29/05 Page 2 of 5 Page|D 29

CLAIM CONSTRUCTION HEARING: To be set by the District Judge. March of 2006

requested
COMPLETING ALL DISCOVERY: August 26, 2006.
(a) DOCUMENT PRODUCTION: May 12, 2006

(b) FACT DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: June 16, 2006.

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(Hl) DISCLOSURE OF RULE 26 EXPERT INFORMATION ON
MATTERS FOR WI-IICH A PARTY HAS THE BURDEN OF
PROOF: June 23, 2006.

(2) DISCLOSURE OF RULE 26 REBUTTAL EXPERT
INFORMATION: July 14, 2006.

(3) EXPERT WITNESS DEPOSITIONS: August 26, 2006.
FILING DISPOSITIVE MOTIONS: Septernber 26, 2006.
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or obj ection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last 7-10 days. The pretrial order

date, pretrial conference date, and trial date will be set by the presiding judge.

Case 2:O5-cv-O2333-SHI\/|-dkv Document_23t_ Filed 08/29/05 Page 3 of 5 Page|D 30

Plaintiffs contend that, at this juncture, this case is not appropriate for mediation or other
form of ADR. Defendant contends that this case is appropriate for mediation or another mutually
agreeable form of ADR.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may tile a response to any motion filed in this matter. Neither party
may tile an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall tile a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate j udge.

This Order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE: //}¢Z,L¢¢j ;é, O?FOb-'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CV-02333 Was distributed by fax, mail, or direct printing on
September 2, 2005 to the parties listed.

ESSEE

 

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Case 2:O5-cv-O2333-SHI\/|-dkv Document 21 Filed 08/29/05 Page 5 of 5 Page|D 32

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Honorable Samuel Mays
US DISTRICT COURT

